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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 10/15/2020
                                                                       :
JULIO TELLEZ GARCIA et al.,                                            :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :     19-CV-1301 (JPC)
                  -v-                                                  :
                                                                       :      NOTICE OF
SAL 79 ASSOCIATES, INC. et al.,                                        :    REASSIGNMENT
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Unless and until the Court orders otherwise, all prior orders, dates, and deadlines

shall remain in effect notwithstanding the case’s reassignment. Any currently scheduled conference

or oral argument before this Court is adjourned pending further order of this Court, but any

conference or oral argument before the Magistrate Judge will proceed as ordered.

        Counsel for all parties are hereby directed to appear before the undersigned for a post-

discovery status conference on December 11, 2020 at 11:00 a.m. In light of the ongoing COVID-

19 pandemic, the Court will conduct the conference by teleconference. At the scheduled time,

counsel for all parties should call (866) 434-5269, access code 9176261. Absent leave of Court

obtained by letter-motion filed before the conference, all pretrial conferences must be attended by

the attorney who will serve as principal trial counsel.

        Additionally, by November 5, 2020, the parties are hereby ORDERED to file on ECF a

joint letter, described below, updating the Court on the status of the case. The joint letter shall not

exceed five (5) pages, and shall provide the following information, to the extent it is relevant, in
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separate paragraphs:

       1.       Names of counsel and current contact information, if different from the information

                currently reflected on the docket;

       2.       A brief statement of the nature of the case and/or the principal defenses thereto;

       3.       A brief explanation of why jurisdiction and venue lie in this Court. In any action

                in which subject matter jurisdiction is founded on diversity of citizenship pursuant

                to Title 28, United States Code, Section 1332, the letter must explain the basis for

                the parties’ belief that diversity of citizenship exists.       Where any party is a

                corporation, the letter shall state both the place of incorporation and the principal

                place of business. In cases where any party is a partnership, limited partnership,

                limited liability company, or trust, the letter shall state the citizenship of each of the

                entity’s members, shareholders, partners, and/or trustees;

       4.       A statement of all existing deadlines, due dates, and/or cut-off dates;

       5.       A statement of any previously scheduled conference dates with the Court that have

                not yet occurred and the matters that were to be discussed;

       6.       A brief description of any outstanding motions, including the date of the motion

                and the nature of the relief sought;

       7.       A statement and description of any pending appeals;

       8.       A detailed statement of all discovery undertaken to date, including how many

                depositions each party has taken and what, if any, discovery remains that is essential

                for the parties to engage in meaningful settlement negotiations;

       9.       The status of settlement discussions before Judge Fox and a list of all prior

                settlement discussions, including the date, the parties involved, and the

                approximate duration of such discussions, if any;

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       10.     A statement of whether the parties have discussed the use of other alternate dispute

               resolution mechanisms and indicating whether the parties believe that (a)

               participation in the District’s Mediation Program; and/or (b) retention of a privately

               retained mediator would be appropriate and, if so, when in the case (e.g., within the

               next sixty days, after the deposition of plaintiff is completed, after the close of fact

               discovery, etc.) the use of such a mechanism would be appropriate;

       11.     An estimate of the length of trial; and

       12.     Any other information that the parties believe may assist the Court in advancing

               the case to settlement or trial, including, but not limited to, a description of any

               dispositive or novel issue raised by the case.

       If this case has been settled or otherwise terminated, counsel are not required to submit

such letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal, or other

proof of termination is filed on the docket prior to the joint letter submission deadline, using the

appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.19, available at

http://nysd.uscourts.gov/ecf_filing.php. In accordance with the Court’s Individual Rules and

Practices, requests for extensions or adjournment may be made only by letter-motion filed on ECF

and must be received at least 48 hours before the deadline or scheduled appearance, absent

compelling circumstances. The written submission must state (1) the original date(s) set for the

appearance or deadline(s) and the new date(s) requested; (2) the reason(s) for the request; (3) the

number of previous requests for adjournment or extension; (4) whether these previous requests




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were granted or denied; and (5) whether opposing counsel consents, and, if not, the reasons given

by opposing counsel for refusing to consent.

       SO ORDERED.

Dated: October 15, 2020                            __________________________________
       New York, New York                                   JOHN P. CRONAN
                                                          United States District Judge




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